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% A 0 245D      (Rev 121031Judement in a Criminal Case for Revocations




                        SOUTHERN                                    District of                                 ILLINOIS

         UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                               v.                                          (For Revocation of Probation or Supervised Release)
                STEOPHEN L. NEVINGS
                                                                           Case Number: 4:99CR40036-003-JPG
                                                                           USM Number: 04650-025
                                                                            Melissa Day, FPD
                                                                           Defendant's Attorney
THE DEFENDANT:
     admitted guilt to violation of condition(s) in petition                                   of the term of supervision.
     was found in violation of condition(s)                                              after denial of
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                            Violation    %
 Statutow                                                                                  -
                                     T h e defendant committed offense of DUI, Illegal Trans. of
                                     Alcohol & Driving Too Fast for Condition                                       2/5/2007
 Statutory                           T h e defendant admitted to illegal
                                                                     . possession
                                                                         .        of drugs
                                                                                        .                           2/23/2007
 Standard # 7                        The defendant used alcohol to excess                                           2/5/2007
       The defendant is sentenced as provided in pages 2 through                  5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                      and is discharged as to such violation(s) condition.

          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
                                                         '?i
change of name, residence, or mailing address unti all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must not~fythe court and United States attorney of material changes in
economic circumstances.

Defendant's S o c Sec No.:     XXX-XX-XXXX                                  411 812007
Defendant's Date of Birth:     9/21? 9 6 8


Defendant's Residence Address:

Mt. Vernon. IL
                                                                            J . Phil Gilbert                                 District J u d g e
                                                                           Name of Judge                                     Tltle of Judge
                                                                             -
                                                                             ,/
                                                                           Date
Defendant's Mailing Address:

S a m e as above
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           Sheet 1A


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                                                  ADDITIONAL VIOLATIONS
                                                                                                                 Violation
Violation Number               Nature of Violation                                                               Concluded
Standard # 11                    The defendant failed to notify probation of his arrest

Special                          The defendant failed to report for counseling                                    12/28/2006
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               Sheet 2 Im~risonment

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 DEFENDANT: STEOPHEN L. NEVINGS
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                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term o f :
8 months




            The court makes the following recommendations to the Bureau of Prisons:




      @ The defendant is remanded to the custody of the United States Marshal.
            The defendant shall surrender to the United States Marshal for this district:
                 at                                   IJ a.m.            p.m.    on
                 as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office

                                                                         RETURN
  I have executed this judgment as follows:




            Defendant delivered on                                                         to

 at                                                      with a certified copy of this judgment.




                                                                                BY
                                                                                                   DEPUTY UNITED STATES MARSIHAL
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              Sheet 3 S u p e r v i s e d Release


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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
48 months



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pr~sons.
The defendant shall not commit another federal, state or local crime
The defendant shall not unlawfnll possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determmed by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
&$ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
&$ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this 'udgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule ofl~aymentssheet of t h ~ judgment.
                                       s
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     lhc dcicnddnt sli;~llwfrai~ifrom e~cessiyeUS< of alcohol and shall not purcll:~jc.posscss. use, d~strlhutc.or admjni>ter
         c\o~ltrollcds~bst3nceor 3n! paraphcrnal~arelated to an! contrullcJ bub3t3nccs. elcepl .I\ prcscr~bcdh) a pll)siil.~ll.
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the deknrl:inr 5h.ill nut associate with an! pcrsons c n g a ~ e din cr~rn~n.ll
                                                                                  .icti\ it! and sh311 1101 ~ S ~ I C\* Iill1, Ian!~ ~p?rsorI con\ ICICJ
     3 tcluny. unless granlcd pcim~ssionI,) do .in h! tllc prvbat~onorricer.

 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 I 1)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the robation officer, the defendant shall notify third parties of risks that may be occasion@ by the defendant's criminal
         record or persona?.history or characle,r~st~c~ and shall permit the probat~onofficer to make such not~ficat~ons      and to confirm the
         defendant s compl~ancewith such not~ficat~on    requirement.
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             Sheet 3C - Supervised Release


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                                          SPECIAL CONDITIONS OF SUPERVISION
The defendant shall spend the first 90 days in Casseyville, IL treatment center.

Once the defendant has completed the 90 days in Casseyville, the defendant shall reside in a Community Corrections
Center at the direction of the probation officer for not more than 180 days or until discharged by the center director.

The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
deendence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor participation in a residential treatment facility, or residential reentry center. The number of drug tests
shall not exceed 52 tests in a one-year period. Any participation will require complete abstinence from all alcoholic
beverages. The defendant shall pay for the costs associated with substance counseling andlor testing based on a co-pay
sliding fee scale as directed and approved by the United States Probation Office. Co-pay shall never exceed the total
costs of counseling.
